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AO 9l (Rev. I l/l l) Criminal Complaint



                                          UNrrpo SrarBs Drsrrucr CoURT
                                                                  for the
                                                        Southern District of Iowa

                  United States of America
                                 v.
                                                                             Case No. 3:24-mj-2

             MARC ANTHONY CASTILLO,


                           Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    October 11,2023               in the county of             Muscatine         in the
    Southern District of                                        , the defendant(s) violated:

             Code Section                                                      Offense Description

18 U.S.C. $ 922(9)(l),924(a)(8) Felon in Possession of Ammunition.




          This criminal complaint is based on these facts:

See attached Affidavit.




         d Continued on the attached sheet.

                                                                                                     inant's signature
         D Swom to before me and signed in my presence.
         d Swo* to before me by telephone or other                                             Printed name and tille
              reliable electronic means.




Date:     January 4, 2024
                                                                                                 Judge's signature

City and state:                           Davenport, Iowa                        Stephen B. Jackson, Jr. U.S. Magistrate Judge
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  FILED
  By: Clerk’s Office, Southern District of Iowa
  10:09 am, Jan 04 2024
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              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Muscatine Police Department Detective, Casey Jensen, being duly sworn, state as
follows:
   1.   I am a Detective with the Muscatine Police Department and have been so
        employed for eight years. I am currently assigned to the Major Crimes Unit
        and have been so since 2022. I have been a certified peace officer in the State
        of Iowa since 2015. While at the Muscatine Police Department, I spent four
        years with the Street Crimes Unit before going to the Major Crimes Unit. In
        my time as a detective in both of those positions I have led or assisted in several
        frrearms related cases. I have received training through Midwest Gang
        Investigators Association and other training specific to firearm investigations.

   2.   This affidavit is in support of a criminal complaint for MARC ANTHONY
        CASTILLO ('CASTILLO"), charging him with Felon in Possession of
        Ammunition, namely, one .380 Speer shell casing and one .380 Blazer shell
        casing, in violation of Title 18, United States Code, Sections 922(9)(1) and
        92a@)@) on or about October ]-L, 2023. This affidavit is also in support of a
        criminal complaint for DEREK SPENCER UNDERDAHL ("UNDERDAHL"),
        charging him with Felon in Possession of Ammunition, namely, eight Super X
        .22 callber bullets and four NFCR nine-millimeter Luger bullets, in violation
        of Title 18, United States Code, Sections 922(s)g) and g24(a)(8) on or about
        October 17,2023. This affidavit contains some, but not all, of the information
        known to me regarding this investigation. The information contained in this
        affidavit is based on my training, experience, and discussions with other
        officers.

   3.   on october 11, 2023, at approximately 1Bb9 hours, I (Det. Jensen), Det. Britt
        Jameson, and other officers, were dispatched to the area of 408 Broadway St.,
        Muscatine, IA, for the report of gunshots. Law enforcement was advised that
        a black male and a Hispanic male were fighting in the street. The complainant,
        A.P., had taken video of the frght that happened in the street. Upon arrival,
        A.P. showed me the video. In the video, a black male and white male were
        fighting, while a long-haired male stayed back. The white male was identified
        as UNDERDAHL, and the black male was identifred as DoE (,,DoE,,). The
        long-haired male was identifred as CASTILLO.

  4.    In A.P.'s video, UNDERDAHL and DoE are seen fighting in the street. DoE
        is then seen running back towards 201 w 4th st, Muscatine, IA. CASTILLO
        and UNDERDIIAL start walking away and two gunshots are heard in the
        video. A.P.'s video then showed GASTILLo and UNDERDIIAL run past A.p.,s
        camera and CASTILLO is seen pulling a dark object from his waistband. Two
        more gunshots are heard on A.P.'s video before the video concludes.
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5.   I spoke with A.P. about what A.P. personally saw and heard. A.P. advised that
     A.P. saw the males fighting and witnessed CASTILLO raise his shirt and
     display a firearm in his waistband. A.P. also informed me that A.P. witnessed
     UNDERDAHL retrieve a frrearm from a shorter Hispanic man sitting in the
     driver's seat of a nearby vehicle, who was later identified as Luis Coulter.

6.   Another witness, who was present at the incident, named H.C., confirmed that
     H.C. saw CASTILLO shoot his firearm aft,er DOE's first two gunshots.

7.   A separate video, captured from a front door of a nearby house, also showed
     CASTILLO walking away from the scene, while turning to pull a dark object
     from his waistband and hold it up, with both arms outstretched, while running
     past vehicles. There was no sound in this video. The officers later recovered
     two shell casings in the area that CASTILLO is seen while holding the dark
     object.

8.   DOE later informed law enforcement that he was present at the altercation.
     DOE confirmed he saw CASTILLO brandish a firearm in his waistband while
     DOE was fighting UNDERDAHL. DOE confirmed he fired the first two shots
     from his house.

9. At the scene of the shooting, police found two 9x19-millimeter shell casings.
     These were closer to DOE's home and were confirmed to be shot by DOE's
     firearm by Iowa Department of Public Safety DCI Criminalistic Laboratory.
     Near the area where UNDERDAHL and CASTILLO are seen running away
     from the scene by where the witnesses, A.P. and H.C., was a Blazer.380 shell
     casing and a Speer .380 shell casing. Iowa Department of Public Safety DCI
     Criminalistic Laboratory indicated that the two shell casings were fired by the
     same unknown firearm. These two casings were knowingly possessed by
     CASTILLO.

10. Following this incident, a search warrant was executed at UNDERDAHL's
     house in the 1200 block of Lincoln Blvd, Muscatine, IA on October L7,2023.
     Police found four nine-millimeter bullets and eight .22 caliber bullets in
     UNDERDAHL's bedroom upstairs in the house. This ammunition was
     knowingly possessed by UNDERDAHL. I was able to confirm the upstairs
     bedroom of this house was used by UNDERDHAL based on the following
     factors: the other two bedrooms (both downstairs) were inhabited by
     UNDERIIAL's sister and mother, who are the only other residents at this
     house; the bedroom was filled with traditionally men's clothing, shoes, and
     accessories; the bedroom had a CBI bank card with UNDERHAL's name on it;
     the bedroom had a jury summons letter with UNDERDAHL's name on it; and
     from my, and other law enforcement offrcials' previous encounters at this
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      house, including search warrants, it has been confrrmed that it is
      UNDERDHAL's bedroom.

   11.Both CASTILLO and UNDERDAHL have been convicted of felonies, making
      them prohibited from possessing firearms or ammunition. CASTILLO was
      convicted of Assault Causing Bodily Injury in Muscatine County, Iowa in 2019;
      and Assault on Persons in Certain Occupations in Muscatine County, Iowa in
      2O2L. UNDERDAHL was convicted of Dominion/Control over a Firearm in
      Muscatine County, Iowa in 2019; Willful Injury in Muscatine County, Iowa in
      2O2O; and Assault with Intent to Inflict Serious Injury in Muscatine County,
      Iowa in 2023.

   12.Bureau of Alcohol, Tobacco, Firearms and Explosives Agent Robert Friend has
      confirmed that the two shell casings found at the shooting scene on October 11,
      2023 and the twelve bullets found at UNDERDAHL's bedroom on October 17,
      2023 were not made in Iowa, and therefore, were transported across state lines
      at some time during or before either CASTILLo's or UNDERDAHL's
      possession of them.

   l3.Based on the foregoing, I believe there is probable cause that MARC
      ANTHONY CASTILLO committed the crime of Felon in Possession of
      Ammunition, in violation of Title 18, United States Code, Sections 922(dQ)
      and924(a)(8) on or about October 11, 2023.

   14. Based on the foregoing,   I believe there is probable cause that DEREK
      UNDERDHAL committed the crime of Felon in Possession of Ammunition, in
      violation of Title 18, United States Code, Sections 922(dG) and g24(aX8), on
      or about October 17,2023.

                                             Respectfully submitted,



                                             Casey

                                             Muscatine Police Department

Subscribed and sworn before me by telephone or by other reliable electronic means
on January _,4 2024.



                                             Stephen B. Jackson, Jr.
                                             United States Magistrate Judge
                                             Southern District of Iowa
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